       Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 1 of 19



               IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF ALABAMA
                         EASTERN DIVISION

       GREGORY JACK ALMOND and
       TERESA ROBERTS ALMOND

           Plaintiffs

              v.


       RANDOLPH COUNTY,ALABAMA;
       THE RANDOLPH COUNTY
       COMMISSION; SHERIFF DAVID
       COFIELD; LARRY CLARK,JR.;                        37A—cNoi) 195- SRAAJ
       BERNARD SHEPPARD; RANDY
                                                            Jury Demand
       MOORE; DONNIE STRAIN; KEVIN
       WALKER; GREG JOHNSON;JIMMY
       JOHNSON; JEAN DOT; JODY
       McDANIEL; and NATHANIEL
       MORROW



        Defendants


                                 COMPLAINT

      COME NOW the plaintiffs, Gregory Jack Almond and Teresa Roberts

Alrnond_and file this Complaint alleging and showing unto the Court as follows:

                                THE PARTIES

      1) Plaintiff Gregory Jack Almond (hereinafter referred to as "Greg") is an

adult resident of Randolph County, Alabama.
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 2 of 19



      2) Plaintiff Teresa Roberts Almond (hereinafter referred to as "Terese)is an

adult resident of Randolph County, Alabam .

      3) Defendant Randolph County, Alabama (hereinafter referred to as "the

County") is a governmental entity created pursuant to the laws of the State of

Alabama. Its actions as a governmental entity are "state actions" within the meaning

ofthe Fourteenth Amendment to the United States Constitution.

      4) Defendant Randolph County Commission (hereinafter referred to as "the

Commission") is the governing body of Randolph County pursuant to the

Constitution and laws of the State of Alabama. Its actions as a governmental entity

are "state actions" within the meaning of the Fourteenth Amendment to the United

States Constitution.

      5)    Defendant Sheriff David Cofield (hereinafter referred to as "Sheriff

Cofield")is an adult resident ofRandolph County, Alabama. Suit is brought against

him in his individual capacity. At all times pertinent to the allegations of this

Complaint, Defendant Sheriff Cofield was the Sheriff of Randolph County and the

head ofthe Randolph County Sheriffs Department. The Randolph County Sheriffs

Department is an integral part ofthe State of Alabama, and the actions of its Sheriff

are "state actions" within the meaning of the Fourteenth Amendment to the United

States Constitution. The actions of Sheriff Cofield alleged herein were taken in

response to instructions from and under the direction of the Randolph County


                                         2
       Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 3 of 19



Commission and are attributable to the Randolph County Cornmission based on

general principles of agency.

      6) Defendant Larry Clark, Jr., (hereinafter referred to as "Deputy Clark") is

an adult resident of Randolph County, Alabama. Suit is brought against hirn in his

individual capacity. At all times pertinent to the allegations of this Complaint,

Defendant Deputy Clark was a Deputy Sheriff of the Randolph County Sheriffs

Department.

      7)   Defendant Bernard Sheppard (hereinafter referred to as "Deputy

Shepparr) is an adult resident of Randolph County, Alabama. Suit is brought

against him in his individual capacity. At all times pertinent to the allegations of

this Complaint, Defendant Deputy Sheppard was a Deputy Sheriff of the Randolph

County Sheriffs Department.

      8) Defendant Randy Moore,(hereinafter referred to as "Deputy Moore") is

an adult resident of Randolph County, Alabama. Suit is brought against him in his

individual capacity. At all times pertinent to the allegations of this Complaint,

Defendant Deputy Moore was a Deputy Sheriff of the Randolph County Sheriffs

Department.

      9) Defendant Donnie Strain,(hereinafter referred to as "Deputy Strain") is an

adult resident of Randolph County, Alabama. Suit is brought against him in his

individual capacity. At all times pertinent to the allegations of this Cornplaint,
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 4 of 19



Defendant Deputy Strain was a Deputy Sheriff of the Randolph County Sheriffs

Department.

      10) Defendant Kevin Walker (hereinafter referred to as "Deputy Walker")is

an adult resident of Randolph County, Alabama. Suit is brought against hirn in his

individual capacity. At all times pertinent to the allegations of this Complaint,

Defendant Deputy Walker was a Deputy Sheriff of the Randolph County Sheriffs

Department.

      11)     Defendant Greg Johnson, (hereinafter referred to as "Deputy

G. Johnson") is an adult resident of Randolph County, Alabama. Suit is brought

against hirn in his individual capacity. At all times pertinent to the allegations of

this Complaint,Defendant Deputy G. Johnson was a Deputy Sheriff ofthe Randolph

County Sheriffs Department.

      12)     Defendant Jirnmy Johnson, (hereinafter referred to as "Deputy

J. Johnson") is an adult resident of Randolph County, Alabama. Suit is brought

against him in his individual capacity. At all times pertinent to the allegations of

this Complaint, Defendant Deputy J. Johnson was a Deputy Sheriff of the Randolph

County Sheriffs Department.

      13) Defendant Jean Dot,(hereinafter referred to as "Deputy Dot")is an

adult resident of Randolph County, Alabama. Suit is brought against her in her

individual capacity. At all times pertinent to the allegations of this Complaint,


                                          4
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 5 of 19



Defendant Deputy Dot was a Deputy Sheriff ofthe Randolph County Sheriff s

Department.

       14)    Defendant Jody McDaniel (hereinafter referred to as "Deputy

McDaniel") is an adult resident of Randolph County, Alabama. Suit is brought

against him in his individual capacity. At all times pertinent to the allegations of

this Complaint, Defendant Deputy McDaniel was a Deputy Sheriff of the Randolph

County Sheriffs Department.

       15) Defendant Nathaniel Morrow, (hereinafter referred to as "Deputy

Morrow")is an adult resident ofRandolph County, Alabama. Suit is brought against

him in his individual capacity. At all times pertinent to the allegations of this

Complaint, Defendant Deputy Morrow was a Deputy Sheriff of the Randolph

County Sheriffs Department.

       16) Deputy Clark, Deputy Sheppard, Deputy Moore, Deputy Strain, Deputy

Walker, Deputy G. Johnson, Deputy J. Johnson, Deputy Dot, Deputy McDaniel, and

Deputy Morrow, all named above, are sometimes hereinafter referred to collectively

as "the Randolph County Deputies" or "members ofthe drug task force."

                                  JURISDICTION

      17) This is an action for legal and equitable relief to redress violations of

Plaintiffs' constitutional rights. This suit is brought to secure the protection of and

to redress the deprivation of rights secured under the Fourth, Fifth, Eighth and


                                          5
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 6 of 19



Fourteenth Amendments to the United States Constitution and 42 U.S C.§1983. The

jurisdiction of the Court is invoked pursuant to 28 U.S.C. §§ 1331, 1343 and 28

U.S.C. §§ 2201 and 2202.

      18)    Jurisdiction is founded upon 28 U.S.C. §§ 1331 and 1341(3) and (4)

and the aforementioned constitutional and statutory provisions. Plaintiff further

invokes the pendant jurisdiction of this Court to herein decide claims arising out of

State Law pursuant to 28 U.S.C. § 1367.

      19)    Venue is proper under 28 U.S.C. §1391 as the events in question

occurred in Randolph County, Alabama.

                          FACTUAL BACKGROUND

      20) On or about the 31st day of January, 2018, Teresa was at the Almond's

residence located at 1675 County Road 71, Woodland, Alabama, which is in the

rural part of Randolph County, Alabama. At approximately 2:00 p.m., a Deputy of

the Randolph County Sheriffs Department arrived at the Almond's home and stated

that his purpose there was to serve paperwork related to a civil matter.

      21) Teresa informed the Deputy that Greg was not at home but should return

in about two hours. Teresa invited the Deputy to return at that time.

      22) According to the Deputy's report, he smelled marijuana inside the

residence. Based on the deputy's alleged smell, a search warrant was obtained, and




                                          6
         Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 7 of 19



the Sheriffs "Drug Task Force"(hereinafter "the task force') was convened in less

than two (2) hours.

        23) Later the same afternoon, Greg returned home. Soon thereafter, mernbers

of the task force, ascended upon the residence and kicked in the door of the

Almond's residence.

        24) After kicking in the door, one ofthe members ofthe drug task force threw

a "shock" explosive device inside the residence. Greg Almond, who was in route to

open the door ofthe residence, was injured when the explosive device blew up at his

feet.

        25) Both Greg and Teresa were then forcibly thrown to the floor. The house

was ransacked. Inside the house, the task force claimed to have found one

"roach"/partially smoked marijuana cigarette and one small plant less than one foot

tall which members of the task force believed to be marijuana. Outside in a grill,

members of the task force discovered a small baggy with a small amount of leafy

substance, which they believed to be marijuana. The total amount of marijuana

found would have had a street value of$50.00 or less. Possession ofsaid marijuana

is a misdemeanor. However, none of the marijuana seized in the raid belonged to

either Greg or Teresa.

        26) No contraband was found on the person of either Greg or Teresa.

        27) Inside the Almond residence were two safes that housed an extensive
       Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 8 of 19



collection of over 80 guns, some of which are antiques; approximately $8,000.00

cash; jewelry; and other personal items, including prescription medications. The

Almonds were directed to open the safes. Inside the safes, the members of the drug

task force claim to have found ONE LUNESTA PILL outside ofthe bottle in which

it had been prescribed. Lunesta is a non-narcotic class IV controlled substance

prescribed to aid sleep.

      28) Greg and Teresa were both arrested and taken to jail. They were detained

until the following day at which time they bonded out.

      29) The initial arrest report posted online had Greg and Teresa falsely and

slanderously charged with manufacturing a controlled substance. These charges

were later amended to possession of marijuana, which is a misdemeanor, and

possession of a controlled substance (the Lunesta pill), which is a felony.

      30) Greg and Teresa have a 27-year-old son who went to the Randolph

County Sheriffs Office and confessed that the marijuana belonged to him and did

not belong to his parents.     Despite that fact, the Randolph County Sheriffs

Department continued to pursue prosecution, and the cases were bound over to the

August 2018 term ofthe Grand Jury. No indictment was returned during that Grand

Jury session.

      31) During the spring 2019 term of Grand Jury in Randolph County,

Alabama, the Grand Jury returned indictments against Greg and Teresa, charging


                                         8
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 9 of 19



each of them with (a) possession of marijuana in the second degree and (b)

possession of drug paraphernalia, both of which charges are misdemeanors.

      32) Neither Greg nor Teresa, who have been married for nearly 30 years and

are parents and grandparents, have any criminal history or have ever been arrested

for anything in their lives prior to this incident.

      33) Greg and Teresa have made numerous complaints to the Randolph

County Sheriffs Department, but no action was taken.

      34) Greg and Teresa allege that after making complaints to the Sheriffs

Department, they and their family have been harassed by members of the

department.

      35) The Almonds are informed and believe and upon such information and

belief charge the facts to be that it is the pattern and practice ofthe Randolph County

drug task force and Sheriffs Department to illegally seize property of defendants on

misdemeanor offenses and never file civil forfeiture proceedings.

      36) Greg and Teresa allege that items of personal property seized from their

home were lost, stolen, or otherwise disposed of by members of the Randolph

County Sheriffs Department, without Plaintiffs' knowledge or permission.

      37) Both Greg and Teresa were deprived of their constitutional rights to due

process, to be secure in their person from unreasonable seizure, and to be protected

from arrest without probable cause.


                                            9
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 10 of 19



       38)Because of humiliation and indignities suffered by Greg and Teresa, both

are hesitant to go into public places in and around the County of their residence.

They have both suffered great embarrassment and humiliation and continue to suffer

such embarrassment and humiliation because of the activities of the defendants as

described in this Complaint.

       39) Both Plaintiffs have suffered, and continue to suffer, physical and mental

pain and emotional distress from said injuries and public indignities caused by the

Defendants; and they will continue in the future to suffer mental pain and emotional

distress from said injuries caused by the Defendants.

       40) As a proximate result ofthe Defendants' conduct, the Plaintiffs' physical

injuries and mental and emotional pain and suffering caused by the Defendants have

adversely affected the Plaintiffs' home and family life, have impaired and hindered

the Plaintiffs in the performance of their accustomed daily activities, and have

greatly restricted the Plaintiffs' ability to engage in activities to which they were

otherwise accustomed, such as visiting public places.

                                   COUNT ONE:

    VIOLATION CIVIL RIGHTS UNDER THE FOURTEENTH
AMENDMENT AND EIGHTH AMENDMENT TO THE UNITED STATES
         CONSTITUTION FOR EXCESSIVE FINES.

       41) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.


                                          10
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 11 of 19



       42) Randolph County, and the Randolph County Cornmission are entities

created pursuant to the laws of the State of Alabama. Actions taken of seizing

property by Sheriff Cofield and the members of the drug task force, acting in their

official capacity, are actions within the meaning of the Fourteenth and Eighth

Amendments to the United States Constitution. Plaintiffs have suffered the damages

as herein above alleged.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.

                                   COUNT TWO

                 VIOLATION OF CIVIL RIGHTS BY
             DEPRIVATION OF RIGHTS PROVIDED BY
       THE DUE PROCESS CLAUSES OF FIFTH and FOURTEENTH
        AMENDMENTS TO THEUNITED STATES CONSTITUTION

       43)    Plaintiffs incorporate by reference all prior paragraphs ofthis complaint

as if set out here in full.

       44) In order for property to be taken under the Alabama civil forfeiture

statute, CODE OF ALABAMA § 20-2-93,the county rnust file a civil action to condemn

the property . Failure to do so is lack of due process and is unconstitutional in

violation and the Fifth and Fourteenth Arnendments to the United States

Constitution. Plaintiffs have suffered the damages as hereinabove alleged.



                                          11
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 12 of 19



       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.

                                  COUNT THREE

               VIOLATION OF CIVIL RIGHTS BY
           DEPRIVATION OF RIGHTS PROVIDED BY
        THE FIFTH AND FOURTEENTH AMENDMENTS TO
  UNITED STATES CONSTITUTION IN VIOLATION OF 42 U.S.C. 1983

       45) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       46) Randolph County and the Randolph County Commission are entities

created pursuant to the laws of the State of Alabama. Actions taken by Sheriff

Cofield and the Randolph County Deputies acting in their official capacity, are state

actions within the meaning of the Fourteenth Amendment to the United States

Constitution. Sheriff Cofield and the members of the drug task force are sued

individually, and were acting under color of state law. The actions of defendants,

constitute a violation of Plaintiffs' civil rights. Plaintiffs have suffered the damages

as hereinabove alleged.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.



                                          12
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 13 of 19



                                   COUNT FOUR

                                   CONVERSION

       47) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       48) A portion of the cash money that was taken from the home of Greg

Almond and Teresa Almond was deposited into the general account ofthe Randolph

County Commission,for which a large part of that money remains unaccounted. If

this money was seized as evidence, it should have been in the evidence room for

inspection and should not have been deposited into the general fund ofthe Randolph

County Cornmission.

       49) The actions of the Defendants as alleged herein constitute conversion.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive darnages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.

                                  COUNT FIVE

                  VIOLATION OF CIVIL RIGHTS BY
          USE OF UNNECESSARY AND EXCESSIVE FORCE

       50) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       51) The Defendants' actions constitute a violation ofPlaintiffs' civil rights in

that the said actions constitute the use of excessive force in violation of the Fourth

                                          13
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 14 of 19



Amendment to the United States Constitution. It would have been clear to a

reasonable law enforcement officer under the same or similar circumstances that use

of force to the extent that it was used was inappropriate. As a direct and proximate

result ofthe violations ofPlaintiffs' civil rights by the defendants,the Plaintiffs have

suffered the damages as herein above alleged.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a juiy deems reasonable, and may award,

plus attorneys' fees and costs.

                                    COUNT SIX

    ILLEGAL SEARCH AND SEIZURE IN VIOLATION OF THE FOURTH
        AMENDMENT TO THE UNITED STATES CONSTITUTION

       52) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       53) Actions taken by Sheriff Cofield and the members ofthe drug task force,

acting in their official capacity, are state actions within the meaning of the

Fourteenth Amendment to the United States Constitution. The actions constitute a

violation of Plaintiffs' civil rights in that the said actions constitute the use of

excessive force in violation of the Fourth Amendment to the United States

Constitution. Plaintiffs have suffered the damages as herein above alleged.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

                                          14
       Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 15 of 19



plus attorneys' fees and costs.

                                  COUNT SEVEN

             NEGLIGENT HIRING,TRAINING, AND SUPERVISION

       54) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       55) That these actions constitute negligent hiring, training, and supervision.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.

                                  COUNT EIGHT

                              MALICIOUS PROSECUTION

       56) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       57) That these actions constitute malicious prosecution.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury .deems reasonable, and may award,

plus attorneys' fees and costs.




                                         15
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 16 of 19



                                   COUNT NINE

                                     SLANDER

       58) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       59) That these actions constitute slander.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.

                                   COUNT TEN

                                     OUTRAGE

       60) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       61) That these actions constitute the tort of outrage.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.




                                          16
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 17 of 19



                                     COUNT ELEVEN

 DECLARATORY JUDGMENT THAT THE ALABAMA CIVIL FORFEITURE
  STATUTE, CODE OF ALABAMA § 20-2-93,AS WRITTEN AND APPLIED,
                    IS UNCONSTITUTIONAL

       62) Plaintiffs incorporate by reference all prior paragraphs ofthis complaint

as if set out here in full.

       WHEREFORE,Plaintiffs ask this court to send the issue to the Supreme Court

of Alabama as a certified question establishing parameters as to when property may

be seized by law enforcement, specifically that civil forfeiture does not apply to

misdemeanor drug offenses or drug offenses for personal use.

                                     COUNT TWELVE

                              EMOTIONAL PAIN AND SLTFFERING

       63) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       64) That Greg Almond and Teresa Almond have suffered emotional pain and

suffering as a result of these actions.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.




                                          17
        Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 18 of 19



                                  COUNT THIRTEEN

                                      NEGLIGENCE

       65) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       66) That Defendants were negligent in their conduct, resulting in damages to

the Plaintiffs.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.

                                  COUNT FOURTEEN

                                     WANTONNESS

       67) Plaintiffs incorporate by reference all prior paragraphs of this complaint

as if set out here in full.

       68) That Defendants were wanton in their conduct, resulting in damages to

the Plaintiffs.

       WHEREFORE, Plaintiffs demands judgment in such an amount of

compensatory and punitive damages as a jury deems reasonable, and may award,

plus attorneys' fees and costs.




                                         18
     Case 3:19-cv-00175-SRW Document 2 Filed 03/11/19 Page 19 of 19



                                JURY DEMAND

     The plaintiffs demand trial by jury on all issues triable by jury as of right.




     Respectfully submitted this         day of            J-\         , 2019.




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                                         19
